             Case 2:16-cv-01655-RAJ Document 190 Filed 08/03/18 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    KYLE LYDELL CANTY,

10                                 Plaintiff,            Case No. C16-1655-RAJ

11           v.
                                                         ORDER GRANTING DEFENDANTS’
12    CITY OF SEATTLE, et al.,                           MOTIONS TO DISMISS

13                                 Defendants.

14

15          The Court, having reviewed plaintiff’s second amended complaint, defendants’ motions

16   to dismiss this action as a discovery sanction, the Report and Recommendation of the Honorable

17   James P. Donohue, United States Magistrate Judge, any objections thereto, and the remaining

18   record, hereby finds and ORDERS:

19          (1)    The Report and Recommendation is approved and adopted.

20          (2)    Defendants’ motions to dismiss this action as a discovery sanction (Dkts. 121,

21   123) are GRANTED.

22

23
     ORDER GRANTING DEFENDANTS’
     MOTIONS TO DISMISS - 1
              Case 2:16-cv-01655-RAJ Document 190 Filed 08/03/18 Page 2 of 2



 1          (3)     Plaintiff’s second amended complaint (Dkt. 38) and this action are DISMISSED,

 2   with prejudice, for failure of plaintiff to comply with the rules of discovery as set forth in the

 3   Federal Rules of Civil Procedure.

 4          (4)     The Clerk is directed to send copies of this Order to plaintiff, to counsel for

 5   defendants, and to the Honorable James P. Donohue.

 6          DATED this 3rd day of August, 2018.

 7

 8

 9
                                                            A
                                                            The Honorable Richard A. Jones
10                                                          United States District Judge
11

12

13

14

15

16

17

18

19

20

21

22

23
     ORDER GRANTING DEFENDANTS’
     MOTIONS TO DISMISS - 2
